                                   1

                                   2

                                   3

                                   4

                                   5
                                                                          UNITED STATES DISTRICT COURT
                                   6
                                                                        NORTHERN DISTRICT OF CALIFORNIA
                                   7

                                   8   GLORIA STITT, et al.,                              Case No.: 12-cv-03892- YGR
                                   9                 Plaintiffs,                          ORDER GRANTING DEFENDANTS’ MOTION
                                                                                          FOR SUMMARY JUDGMENT
                                  10
                                               vs.
                                  11                                                      Re: Dkt. Nos. 170, 196
                                       CITIBANK, NATIONAL ASSOCIATION AND
                                  12   CITIMORTGAGE, INC.,
Northern District of California
 United States District Court




                                  13                  Defendants.
                                  14           Now before the Court is defendants CitiBank, National Association’s and CitiMortgage,
                                  15   Inc.’s (collectively, “Citi”) motion for summary judgment on the named plaintiffs’ individual claims.
                                  16   (Dkt. No. 170.)1 Plaintiffs Gloria Stitt, Ronald Stitt, Mark Zirlott, and Teri Zirlott oppose. Having
                                  17   carefully considered the papers submitted and the pleadings in this action, oral argument held on July
                                  18   19, 2016, and for the reasons set forth below, the Court hereby GRANTS defendants’ motion.2
                                  19      I.          BACKGROUND
                                  20           This case arises out of plaintiffs’ combined payment of $310.50 to Citi for property
                                  21   inspections performed when plaintiffs were in default on their mortgage payments. Plaintiffs’ case
                                  22   has evolved significantly since it was filed. Plaintiffs originally accused Citi of assessing borrowers
                                  23

                                  24
                                               1
                                  25             The Court resolves the administrative motions to seal documents submitted in connection
                                       with the substantive motion through separate orders entered this date.
                                  26           2
                                                Also before the Court is plaintiffs’ ex parte application for leave to file supplemental
                                  27   evidence in opposition to Citi’s motion for summary judgment. (Dkt. No. 196.) Defendants do not
                                       oppose. (Dkt. No. 197.) In light of defendants’ non-opposition, and for good cause showing, the
                                  28   Court GRANTS plaintiffs’ ex parte application.
                                   1   for default-related fees for property inspections3 Citi allegedly marked-up from the cost it paid a

                                   2   third-party vendor. (Dkt. No. 1 ¶ 2.) While the complaint did reference purportedly “unnecessary”

                                   3   fees, the gravamen of plaintiffs’ first complaint was Citi’s alleged mark-up of the fees.4

                                   4          Discovery revealed that Citi never marked-up property inspection fees. Citi, in its role

                                   5   servicing home mortgage loans, has always charged the borrower exactly what Citi is billed by the

                                   6   third-party vendor performing a property inspection. Plaintiffs’ first amended complaint removed all

                                   7   mark-up allegations. (Dkt. No. 69, “FAC.”) The FAC accused Citi of charging borrowers for

                                   8   allegedly “unnecessary” property inspections and then fraudulently concealing the charges by using

                                   9   cryptic descriptions such as “delinquency expenses.” (Id. ¶¶ 2–4, 9–10.) The FAC asserted class

                                  10   allegations on behalf of a proposed class defined as: “All residents of the United States . . . who had a

                                  11   loan serviced by CitiMortgage and whose accounts were assessed fees for default-related services,

                                  12   including . . . property inspection fees, at any time . . . .” (Id. ¶ 80.) Only plaintiffs’ fraud and unjust
Northern District of California
 United States District Court




                                  13   enrichment claims survived Citi’s motion to dismiss the FAC. (See Dkt. No. 98.)

                                  14          On June 9, 2015, plaintiffs moved to certify a broad nationwide unjust enrichment class, a

                                  15   New York fraud class, and an Alabama fraud class. (Dkt. No. 113.) The Court denied plaintiffs’

                                  16   motion. (Dkt. No. 151.) As to the unjust enrichment class, the Court denied certification of a

                                  17   nationwide class in light of the Ninth Circuit’s holding in Mazza v. Am. Honda Motor Co., that the

                                  18   “elements necessary to establish a claim for unjust enrichment . . . vary materially from state to

                                  19   state.” 666 F.3d 581, 591 (9th Cir. 2012). With respect to the proposed New York and Alabama

                                  20   fraud classes, plaintiffs advanced two theories of fraud, namely that Citi: (1) implicitly

                                  21   misrepresented property inspection fees were charged to plaintiffs in accordance with their mortgage

                                  22   agreements, when in fact the charges were neither valid nor due; and (2) concealed the property

                                  23   inspection fee charges by using the allegedly inaccurate description of “delinquency expenses” on

                                  24

                                  25          3
                                                 Plaintiffs’ original complaint and first amended complaint on behalf of a nationwide class
                                  26   and certain subclasses also alleged the same conduct with respect to Broker Price Opinions
                                       (“BPOs”). (See Dkt. Nos. 1, 69.) Plaintiffs have since dropped their claims concerning BPOs
                                  27   entirely.
                                              4
                                  28             The Court sets forth a more detailed background on the evolution of plaintiffs’ claims in its
                                       order issued this date denying plaintiffs’ motion for an order entitling them to a catalyst fee award.
                                                                                           2
                                   1   their monthly mortgage statements. As to the first theory, the only common evidence presented was

                                   2   Citi’s use of its software management system CitiLink to order and charge delinquent borrowers for

                                   3   property inspection fees at certain time intervals automatically. Based thereon, the Court concluded

                                   4   that a classwide determination as to the manner in which Citi ordered and charged property

                                   5   inspection fees through CitiLink would not make the property inspection charges per se

                                   6   unauthorized. Said otherwise, no common questions existed that would lead to common answers for

                                   7   the classes. As to the second theory, the Court found it unsupported by the record because Citi

                                   8   defined the term “delinquency expenses” to include property inspection fees on the borrowers’

                                   9   monthly mortgage statements. As such, the Court declined to certify any class. The Court

                                  10   subsequently denied plaintiffs’ request for leave to file a renewed motion for class certification.

                                  11   (Dkt. No. 163.)

                                  12            Only the named plaintiffs’ individual claims remain. Defendants now move for summary
Northern District of California
 United States District Court




                                  13   judgment on the fraud and unjust enrichment claims brought by the Stitts and Zirlotts under the laws

                                  14   of New York and Alabama, respectively. In accordance with the Court’s order on class certification,

                                  15   plaintiffs are not pursuing their second theory of fraudulent conduct. Instead, plaintiffs now proceed

                                  16   only under their first theory, i.e. that Citi misrepresented its authority under the mortgage agreements

                                  17   to assess plaintiffs for property inspection fees. The Stitts seek damages in the amount of six $13.50

                                  18   charges for property inspections Citi ordered when they were in default – for a total of $81. (SMF5

                                  19   1-11, 1-12.) The Zirlotts seeks damages in the amount of seventeen charges (either $13.50 or $15.00

                                  20   each) for property inspections Citi ordered when they were in default – for a total of $229.50. (SMF

                                  21   2-14, 2-15, 2-18, 2-19.)

                                  22      II.       LEGAL STANDARD ON SUMMARY JUDGMENT

                                  23            A party seeking summary judgment bears the initial burden of informing the court of the basis

                                  24   for its motion, and of identifying those portions of the pleadings and discovery responses that

                                  25   demonstrate the absence of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317,

                                  26

                                  27            5
                                                 All references to defendants’ Statement of Material Facts, or “SMF,” refer to the fact
                                  28   number stated therein as well as the supporting evidence cited therein for that fact. Unless otherwise
                                       noted, the facts cited to herein were undisputed by plaintiffs.
                                                                                          3
                                   1   323 (1986). Material facts are those that might affect the outcome of the case. Anderson v. Liberty

                                   2   Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute as to a material fact is “genuine” if there is

                                   3   sufficient evidence for a reasonable jury to return a verdict for the nonmoving party.

                                   4          On an issue where the nonmoving party will bear the burden of proof at trial, the moving

                                   5   party can prevail merely by pointing out to the district court that there is an absence of evidence to

                                   6   support the nonmoving party’s case. Celotex, 477 U.S. at 324–25; Soremekun v. Thrifty Payless,

                                   7   Inc., 509 F.3d 978, 984 (9th Cir. 2007). If the moving party meets its initial burden, the opposing

                                   8   party must then set out specific facts showing a genuine issue for trial in order to defeat the motion.

                                   9   Anderson, 477 U.S. at 250; Soremekun, 509 F.3d at 984; see Fed. R. Civ. P. 56(c), (e). The opposing

                                  10   party’s evidence must be more than “merely colorable” and must be “significantly probative.”

                                  11   Anderson, 477 U.S. at 249-50. Further, the opposing party may not rest upon mere allegations or

                                  12   denials of the adverse party’s evidence, but instead must produce admissible evidence showing there
Northern District of California
 United States District Court




                                  13   is a genuine dispute of material fact for trial. Nissan Fire & Marine Ins. Co. v. Fritz Cos., Inc., 210

                                  14   F.3d 1099, 1102-03 (9th Cir. 2000). Disputes over irrelevant or unnecessary facts will not preclude a

                                  15   grant of summary judgment. T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626,

                                  16   630 (9th Cir. 1987).

                                  17          Nevertheless, when deciding a summary judgment motion, a court must view the evidence in

                                  18   the light most favorable to the nonmoving party and draw all justifiable inferences in its favor.

                                  19   Anderson, 477 U.S. at 255; Hunt v. City of Los Angeles, 638 F.3d 703, 709 (9th Cir. 2011). A district

                                  20   court may only base a ruling on a motion for summary judgment upon facts that would be admissible

                                  21   in evidence at trial. In re Oracle Corp. Sec. Litig., 627 F.3d 376, 385 (9th Cir. 2010); Fed. R. Civ. P.

                                  22   56(c). Further, it is not a court’s task “to scour the record in search of a genuine issue of triable fact,”

                                  23   but is entitled to “rely on the nonmoving party to identify with reasonable particularity the evidence

                                  24   that precludes summary judgment.” Keenan v. Allan, 91 F.3d 1275, 1279 (9th Cir. 1996) (internal

                                  25   quotations omitted); see also Carmen v. San Francisco Unified Sch. Dist., 237 F.3d 1026, 1031 (9th

                                  26   Cir. 2001) (“The district court need not examine the entire file for evidence establishing a genuine

                                  27   issue of fact, where the evidence is not set forth in the opposing papers with adequate references so

                                  28   that it could conveniently be found”).
                                                                                            4
                                   1             The parties agree that New York and Alabama law govern plaintiffs’ claims. The Stitts’

                                   2   mortgage establishes that their agreement is governed by federal law and the laws of New York State

                                   3   (SMF 1-16) while the Zirlotts’ mortgage establishes that that their agreement is governed by the laws

                                   4   of Alabama where the property is located (SMF 2-21.) Accordingly, the Court evaluates the parties’

                                   5   arguments in light of New York and Alabama laws of fraud and unjust enrichment.6

                                   6      III.       DISCUSSION

                                   7                 A. Fraud

                                   8             To maintain a fraud claim under the laws of New York and Alabama, plaintiffs bear the

                                   9   burden to prove: (1) a material misrepresentation or omission of fact, (2) which defendants knew to

                                  10   be false, (3) made for the purpose of inducing plaintiffs to rely upon it, (4) justifiable or reasonable

                                  11   reliance, and (5) injury caused by the misrepresentation or omission. Mandarin Trading Ltd. v.

                                  12   Wildenstein, 944 N.E.2d 1104, 1108 (N.Y. 2011); Mantiply v. Mantiply, 951 So.2d 638, 653 (Ala.
Northern District of California
 United States District Court




                                  13   2006). Citi argues that plaintiffs cannot establish any of the five requisite elements of a fraud claim.

                                  14   The Court begins with element one, or a material misrepresentation or omission of fact. Finding at

                                  15   the outset that plaintiffs cannot establish element one as a matter of law, the Court declines to address

                                  16   the remaining elements.

                                  17             Citi argues that plaintiffs cannot show a misrepresentation of fact for purposes of element one

                                  18   because the implicit misrepresentation at issue is of law, not fact. As discussed above, plaintiffs base

                                  19   their fraud claims on Citi’s implicit misrepresentation that property inspection fees were charged in

                                  20   accordance with the plaintiffs’ mortgage agreements, when in fact the charges were neither valid nor

                                  21   due. Citi argues this is an alleged misrepresentation of law (i.e. misrepresenting contractual

                                  22   authority), which is not an actionable statement for purposes of fraud. The Court agrees.

                                  23             The alleged misrepresentation that forms the basis of plaintiffs’ fraud claim is Citi falsely

                                  24   implying to plaintiffs that it had the contractual authority to charge plaintiffs for the property

                                  25
                                                 6
                                  26              Citi additionally argues that, even if plaintiffs’ theory of misrepresentation were tenable,
                                       Citi is also entitled to summary judgment on plaintiffs’ claims as there is an absence of evidence to
                                  27   support the elements of their claims. Furthermore, Citi argues no disputes of material fact prevent
                                       entry of judgment in favor of Citi. Because the Court finds the fraud and unjust enrichment claims
                                  28   fail based on plaintiffs’ theory of wrongdoing, the Court does not reach Citi’s alternative arguments
                                       going to the sufficiency of the evidence.
                                                                                             5
                                   1   inspection fees. This is an opinion of law not subject to a fraud claim. “It is . . . well settled, as a

                                   2   general rule, that fraud cannot be predicated upon misrepresentations as to matters of law.” Miller v.

                                   3   Yokohama Tire Corp., 358 F.3d 616, 621 (9th Cir. 2004) (quoting Am. Jur. 2d of Fraud and Deceit §

                                   4   97 (2001) (alteration in original)). As the Ninth Circuit has highlighted, the “Restatement explains

                                   5   that where a misrepresentation of law is only one of opinion, rather than one that includes a

                                   6   misrepresentation of fact, the recipient can only justifiably rely on it to the extent that he can

                                   7   justifiably rely on other opinions.” Yokohama, 358 F.3d at 621 (citing Restatement (Second) of Torts

                                   8   § 545 (1977)). Misrepresentations as to matters of law are only actionable for fraud upon a showing

                                   9   of special circumstances.7 Id.

                                  10           The Court finds that plaintiffs’ challenge is to Citi’s legal opinion that it was contractually

                                  11   authorized to pass along the property inspection fees to plaintiffs under the terms of their respective

                                  12   mortgages – as stated implicitly in the monthly mortgage statements sent to plaintiffs. But it is well-
Northern District of California
 United States District Court




                                  13   established that, “[a]s a rule, fraud cannot be predicated on misrepresentations as to the legal effect of

                                  14   a written instrument as, for example . . . a note and mortgage . . . .” 37 Am. Jur. 2d Fraud and Deceit

                                  15   § 102 (2016) (footnotes omitted). Here, the implicit misstatement relates to Citi’s interpretation of its

                                  16   authority under the mortgage agreements. These allegedly fraudulent statements are not actionable.

                                  17   They are nothing more than Citi’s legal opinion of the effect of the terms of the mortgage agreement.

                                  18   See e.g. Marx & Co., Inc. v. Diners’ Club, Inc., 550 F.2d 505, 511 (2d Cir. 1977) (testimony

                                  19   regarding interpretation of contract was improper “legal conclusion” opinion testimony); Mutual Life

                                  20   Ins. Co. of New York v. Phinney, 178 U.S. 327, 342–43 (1900) (where both parties are privy to the

                                  21   terms of a contract, one party’s statement of his interpretation thereof is an “expression of an opinion

                                  22   as to the law of the contract, and not a declaration or admission of a fact”). No fraud claim may be

                                  23   based thereon.

                                  24   ///

                                  25
                                               7
                                  26             Plaintiffs do not argue that such special circumstances are present here, relegating their
                                       response to defendants’ argument to a single footnote: “Contrary to Defendants’ motion, Plaintiffs’
                                  27   fraud claims are based misrepresentations of fact (i.e. that the challenged property inspection fees
                                       were authorized under the Fannie Mae/Freddie Mac uniform mortgage contracts at issue).” (Dkt. No.
                                  28   182 at 11, n. 4.) Plaintiffs thus waived whether any special circumstances could save their fraud
                                       claims, and the Court declines to address the issue.
                                                                                            6
                                   1          The Court’s conclusion that no fraud claim exists based on alleged misrepresentations of

                                   2   contractual authority is supported by New York and Alabama law barring fraud claims where the

                                   3   conduct relates to an alleged breach of contract. As discussed in its order denying class certification,

                                   4   the ultimate dispute is whether Citi acted in such a way that breached the terms of plaintiffs’

                                   5   mortgage agreements authorizing property inspection fees in certain circumstances. “Under New

                                   6   York law, a cause of action sounding in fraud cannot be maintained when the only fraud charged

                                   7   relates to a breach of contract.” Ellington Credit Fund, Ltd. v. Select Portfolio Svcg., Inc., 837 F.

                                   8   Supp. 2d 162, (S.D.N.Y. 2011); see also W.B. David & Co., Inc. v. DWA Comm’ns, Inc., 2004 WL

                                   9   369147, at *3 (S.D.N.Y. Feb. 26, 2004) (courts applying New York law do not “recognize claims

                                  10   that are essentially contract claims masquerading as claims of fraud”) (citations omitted). Similarly,

                                  11   in Alabama there is a “general rule against turning a breach-of-contract action into a tort,” where

                                  12   additional circumstances do not warrant such a claim. Exxon Mobil Corp. v. Ala. Dept. of Conserv.
Northern District of California
 United States District Court




                                  13   & Nat. Res., 986 So.2d 1093, 1130 (Ala. 2007) (Lyons, J., concurring in part). Such circumstances

                                  14   have been found where, for example, the defendant fraudulently concealed material facts during the

                                  15   performance of the agreement, including the defendant’s “serious ongoing problems with regulatory

                                  16   authorities that cast substantial doubt on its ability to perform.” Id. (citing Deupree v. Butner, 522

                                  17   So.2d 242 (Ala. 1988)). In that regard, a defendant’s misrepresentation of facts going to its ability to

                                  18   perform gave rise to a fraud claim separate from a breach of contract claim. Here, the only alleged

                                  19   misrepresentation is of Citi’s legal authority under the contract to assess pass-through fees. This is in

                                  20   stark contrast to plaintiffs’ original allegations of mark-up: that Citi withheld from borrowers the

                                  21   material fact that they were being charged for inflated property inspection fees. Under their current

                                  22   theory of fraud, however, plaintiffs present no evidence that Citi had knowledge of facts unavailable

                                  23   to plaintiffs. This is a classic breach of contract claim inappropriately repackaged as fraud.

                                  24          Plaintiffs principally rely on Young v. Wells Fargo & Co. for the proposition that their fraud

                                  25   claim is not simply a breach of contract claim. 671 F. Supp. 2d 1006 (S.D. Iowa 2009). In Young,

                                  26   plaintiffs alleged that Wells Fargo “engaged in a systematic course of conduct to defraud mortgage

                                  27   borrowers,” in connection with default-related services under the terms of their mortgages. Id. at

                                  28   1034. In the relevant order, the district court was ruling on Wells Fargo’s motion to dismiss
                                                                                           7
                                   1   plaintiffs’ claims for violation of RICO and various state consumer protection laws. In that context,

                                   2   the district court denied Wells Fargo’s motion:
                                                       The Court is not persuaded by Wells Fargo’s attempt to construe
                                   3                   Plaintiffs’ allegations as a contract dispute. Though the basis of
                                   4                   Plaintiffs’ relationship to Wells Fargo was established by contract,
                                                       Plaintiffs have alleged that Wells Fargo’s practices constitute a
                                   5                   systematic scheme to charge excessive fees and conceal those fees from
                                                       mortgagors. Contrary to Wells Fargo’s characterization of case law on
                                   6                   the topic, it is well settled that allegations that a defendant engaged in
                                                       deceptive business practices can support a claim for breach of contract
                                   7                   or fraud, even when the defendant’s actions are also contrary to the
                                   8                   terms of a valid contract.
                                       Id. at 1033–34 (footnote omitted) (citing cases). Young is distinguishable for three reasons. First, the
                                   9
                                       cited order was decided on a motion to dismiss, not summary judgment. Second, Young involved
                                  10
                                       allegations that Wells Fargo concealed inspection fees on its billing statements, a theory of fraud no
                                  11
                                       longer pursued in this case. Finally, the above-quoted passage relied on by plaintiffs was in the
                                  12
Northern District of California
 United States District Court




                                       context of violations of RICO and unfair competition laws, not common law fraud. RICO and unfair
                                  13
                                       competition laws prohibit business practices which, inter alia¸ demonstrate a pattern of fraudulent or
                                  14
                                       unfair activity. See id.; Huyer v. Wells Fargo & Co., 295 F.R.D 332, 348 (S.D. Iowa 2013). Indeed,
                                  15
                                       the district court in Young did not address the elements of a common law fraud claim in the relevant
                                  16
                                       portion of the order, instead casting the allegations as a scheme to defraud under RICO. Id. at 1031.
                                  17
                                       Young does not persuade.
                                  18
                                              For the first time at oral argument, plaintiffs argued they are precluded from stating a breach
                                  19
                                       of contract claim against Citi absent privity between Citi as a loan servicer and plaintiffs as the
                                  20
                                       borrowers. Thus, in plaintiffs’ view, the existence of the mortgage contract cannot bar their fraud
                                  21
                                       claims. In support of that proposition plaintiffs cited to the Second Circuit’s recent decision of
                                  22
                                       Mazzei v. Money Store, 829 F.3d 260 (2d Cir. 2016). In that case, borrowers brought a class claim
                                  23
                                       for breach of contract against defendant for overcharging late fees on their mortgages. Defendant
                                  24
                                       acted as servicer for some class members and the lender for others. Following trial, the district court
                                  25
                                       decertified the class because there was no class-wide evidence that borrowers whose loans were
                                  26
                                       merely serviced by the defendant were in privity of contract with the defendant. The only evidence
                                  27
                                       of privity submitted was the testimony of the class’s expert that borrowers generally can sue their
                                  28
                                                                                           8
                                   1   servicers for breach of contract. The Second Circuit affirmed the district court, noting that this

                                   2   evidence did not establish privity for those absent class members for whom defendant was only a

                                   3   servicer. Id.

                                   4          The Court agrees with Citi that plaintiffs’ belated8 reliance on Mazzei is misplaced. The

                                   5   holding in Mazzei was limited. Contrary to plaintiffs’ implication at oral argument, Mazzei does not

                                   6   stand for the proposition that servicers are never in privity with servicers of their mortgages. The

                                   7   Second Circuit was concerned only with class-wide proof of privity, noting that privity would be a

                                   8   claimant-specific inquiry. Here, plaintiffs presented no evidence, argument, or authority for the

                                   9   proposition that the named plaintiffs are not in privity with Citi9 such that their fraud claim is not

                                  10   barred by the availability of a breach of contract claim. It is plaintiffs’ burden to do so to avoid

                                  11   summary judgment. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (nonmoving party

                                  12   must present specific facts showing movant is not entitled to summary judgment). Regardless, lack
Northern District of California
 United States District Court




                                  13   of privity would not alter the Court’s chief conclusion that misrepresentations of law are not

                                  14   actionable as fraud claims. Plaintiffs’ eleventh hour argument simply cannot revive their incurable

                                  15   claims for fraud.

                                  16          For the foregoing reasons, the Court concludes that plaintiffs’ evidence of a fraudulent

                                  17   misrepresentation is lacking as a matter of law. Citi’s motion for summary judgment on plaintiffs’

                                  18   fraud claims is GRANTED.

                                  19   ///

                                  20   ///

                                  21

                                  22          8
                                                 Although the Second Circuit decision issued just two days before oral argument in this
                                  23   case, the Southern District of New York’s order decertifying the class – based on substantially
                                       similar reasoning – was issued more than a year prior in May 2015. See Mazzei v. Money Store, 308
                                  24   F.R.D. 92 (S.D.N.Y. 2015). To the extent the holding in Mazzei is relevant to plaintiffs’ new lack-of-
                                       privity argument, it was knowable to plaintiffs when they filed their opposition to defendants’ motion
                                  25   for summary judgment. Plaintiffs simply failed to raise the issue timely.
                                              9
                                  26             Citi, while under no obligation to do so, submitted evidence in support of a finding of
                                       privity. First, plaintiffs’ expert Professor Adam Levitin testified over attorney objection at his
                                  27   deposition that plaintiffs could have asserted a breach of contract claim. (Dkt. No. 170-52 at 3–6.)
                                       Second, the Stitts’ loan originated with a company that has since merged into CitiMortgage. (See
                                  28   Dkt. No. 170-4 at 2.)

                                                                                           9
                                   1               B. Unjust Enrichment

                                   2          Citi moves for summary judgment on plaintiffs’ unjust enrichment claims, arguing the fraud-

                                   3   based unjust enrichment claims fall with plaintiffs’ fraud claims under the laws of New York and

                                   4   Alabama.10 Plaintiffs’ opposition does not address this proposition. Rather, plaintiffs contend the

                                   5   argument should be summarily rejected as their fraud claims survive. The Court reads this as an

                                   6   implicit concession by plaintiffs that their fraud-based unjust enrichment claims are defeated if the

                                   7   underlying fraud claims fail.

                                   8          Under New York and Alabama law, plaintiffs cannot recover on a claim for unjust

                                   9   enrichment where their contract or tort claims are defective. See Corsello v. Verizon N.Y., Inc., 967

                                  10   N.E.2d 1177, 1185 (N.Y. 2012) (unjust enrichment claim due to be dismissed because wrongdoing

                                  11   not separate or apart from contract and tort claims); Flying J. Fish Farm v. Peoples Bank of

                                  12   Greensboro, 12 So.3d 1185, 1193 (Ala. 2009) (affirming summary judgment on unjust enrichment
Northern District of California
 United States District Court




                                  13   claims as plaintiffs’ deceit claims failed, and so plaintiffs could not “show that they paid any moneys

                                  14   to [defendants] because of mistake or fraud”). While unjust enrichment is its own separate cause of

                                  15   action in both jurisdictions, the New York Court of Appeals cautions that “unjust enrichment is not a

                                  16   catchall cause of action to be used when others fail.” Corsello, 967 N.E.2d at 1185. Rather, an

                                  17   unjust enrichment claim should be “available only in unusual situations when, though the defendant

                                  18   has not breached a contract nor committed a recognized tort, circumstances create an equitable

                                  19   obligation running from the defendant to the plaintiff.” Id. Thus, where plaintiffs’ contract or tort

                                  20   claims “are defective, an unjust enrichment claim cannot remedy the defects.” Id.

                                  21          As discussed, supra, Citi is entitled to summary judgment on plaintiffs’ fraud claims.

                                  22   Plaintiffs do not allege some “unusual situation” warranting recovery under unjust enrichment here.

                                  23   As such, Citi is entitled to summary judgment on the fraud-based unjust enrichment claims for the

                                  24   same conduct. Citi’s motion for summary judgment on the unjust enrichment claims is GRANTED.

                                  25

                                  26          10
                                                  Citi also moves on other grounds, namely arguing that: (1) the existence of the mortgage
                                  27   contracts expressly governing the subject matter precludes recovery in quasi-contract; and (2)
                                       receiving reimbursement of pass-through costs is not unjust. The Court declines to reach these
                                  28   additional arguments because Citi is otherwise entitled to summary judgment on plaintiffs’ unjust
                                       enrichment claims.
                                                                                         10
                                   1               C. Other Grounds for Summary Judgment

                                   2            Lastly, Citi presents the Court with three further grounds to grant summary judgment in its

                                   3   favor either in whole or in part. First, Citi asserts the Stitts’ claims are wholly barred because there is

                                   4   no evidence the Stitts complied with their mortgage agreement’s notice-and-cure provision prior to

                                   5   commencing this lawsuit. Second, Citi asserts that the evidence shows the Zirlotts’ claims are

                                   6   untimely in part based on Alabama’s two-year statute of limitations. Third, Citi argues there is no

                                   7   evidence suggesting that Citibank can be held liable for the practices of defendant CitiMortgage

                                   8   under an agency theory. On that basis, Citi asks the Court to grant summary judgment on all claims

                                   9   asserted against defendant Citibank. Plaintiffs oppose, arguing summary judgment is inappropriate

                                  10   on these three grounds.

                                  11            As discussed in Sections III.A and III.B, supra, the Citi defendants are entitled to summary

                                  12   judgment on the entirety of plaintiffs’ remaining claims for fraud and unjust enrichment. The Court
Northern District of California
 United States District Court




                                  13   therefore declines to address the parties’ arguments on these three additional grounds.

                                  14      IV.      CONCLUSION

                                  15            For the foregoing reasons, the Court GRANTS defendants’ motion for summary judgment on

                                  16   plaintiffs’ claims for fraud and unjust enrichment (Dkt. No. 170). The Court also GRANTS plaintiffs’

                                  17   unopposed ex parte application for leave to file supplemental evidence (Dkt. No. 196).

                                  18            Defendants shall file a proposed form of judgment approved as to form by plaintiffs within

                                  19   seven (7) days of the date of this Order.

                                  20            This Order terminates Docket Numbers 170, 196.

                                  21            IT IS SO ORDERED.

                                  22   Dated: October 5, 2016

                                  23
                                                                                          _______________________________________
                                  24                                                              YVONNE GONZALEZ ROGERS
                                                                                             UNITED STATES DISTRICT COURT JUDGE
                                  25

                                  26

                                  27
                                  28
                                                                                           11
